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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

 In re:                                                             Chapter 11

 AGSPRING, LLC, et al.,1                                            Case No. 23-10699 (CTG)

                                     Debtors.                       (Jointly Administered)

                                                                    Docket Ref. No. 14



 ORDER (I) AUTHORIZING THE DEBTORS TO REDACT CERTAIN PERSONALLY
 IDENTIFIABLE INFORMATION FOR INDIVIDUAL CREDITORS AND INTEREST
              HOLDERS AND (II) GRANTING RELATED RELIEF


          Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”), (a) authorizing the Debtors to

redact certain personally identifiable information for the Debtors’ individual creditors and interest

holders, and (b) granting related relief, all as more fully set forth in the Motion; and upon the

Chapin Declaration; and this Court having jurisdiction over this matter pursuant to 28 U.S.C. §§

157 and 1334 and the Amended Standing Order of Reference from the United States District Court

for the District of Delaware, dated February 29, 2012; and that this Court may enter a final order

consistent with Article III of the United States Constitution; and this Court having found that venue

of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409;

and this Court having found that the relief requested in the Motion is in the best interests of the




    1 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Agspring, LLC (7735); Agspring Idaho 1 LLC (1720); Agspring Idaho LLC (8754); FO-ND LLC, dba
Firebrand Artisan Mills (1520); Agspring Logistics LLC, dba Agforce (6067); and Agspring Idaho 2 LLC (9262). The
Debtors’ mailing address is 5101 College Boulevard, Leawood, KS 66211.
    2   Capitalized terms used in this Order but not immediately defined have the meanings given to such terms in
the Motion.
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Debtors’ estates, their creditors, and other parties in interest; and this Court having found that the

Debtors’ notice of the Motion was appropriate under the circumstances and no other notice need

be provided; and this Court having determined that the legal and factual bases set forth in the

Motion establish just cause for the relief granted herein; and after due deliberation and sufficient

cause appearing therefor, it is HEREBY ORDERED THAT:

     1.        The Motion is granted as set forth herein.

     2.        The Debtors are authorized to redact home address information, in respect of the

Debtors' individual creditors and interest holders listed on any Debtor’s creditor matrix or similar

document filed with the Court. The Debtors shall file an unredacted version of any such document

under seal with the Clerk’s Office. The Debtors shall provide an unredacted version of the creditor

matrix and any other applicable filed document to the Court, the U.S. Trustee, counsel to any

official committee appointed in these chapter 11 cases, and any other party in interest upon a

reasonable and legitimate request. Any service by the Debtors on the Debtors’ employees and other

individual creditors or interest holders (including, but not limited to, service of any bar date notice)

shall be made to their residential address.

     3.        Notice of the Motion as provided therein shall be deemed good and sufficient notice

of such Motion and the requirements of the Local Rules are satisfied by such notice.

     4.        Notwithstanding any Bankruptcy Rule to the contrary, the terms and conditions of

this order are immediately effective and enforceable upon entry.

     5.        The Debtors are authorized to take all actions necessary to effectuate the relief




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granted in this Order in accordance with the Motion.

     6.         This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




          Dated: August 16th, 2023             CRAIG T. GOLDBLATT
          Wilmington, Delaware                 UNITED STATES BANKRUPTCY JUDGE




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